           Case 3:19-cr-00075-RAM Document 723 Filed 02/07/23 Page Session:
                                                                   1 of 2     3:05PM – 3:26PM




                           UNITED STATES DISTRICT COURT FOR
                             THE DISTRICT OF PUERTO RICO

MINUTES OF PROCEEDINGS:

HONORABLE RAUL M. ARIAS-MARXUACH, U.S. DISTRICT JUDGE
                                                           Date: February 7, 2023
COURTROOM DEPUTY: Natassia Ochoa                           Criminal 19-075 (RAM)
COURT REPORTER: Robin Dispenzieri
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                                               Attorneys:
             USA                               Damare Theriot

             vs.

  1.   Lester Ozuna-Gonzalez                      Rafael F. Castro-Lang

                                                  (not present, excused)

  2.   Hector Rivera-Resto                        Luis E. Tomassini-Segarra

                                                (substituted by Leonardo Aldridge)

  3.   Carlos Luis Perez-Vega                     Francisco Acevedo-Padilla

                                                  (NOT PRESENT)

  7.   Jose Christian Cabret-Pacheco              Yasmin Gonzalez-Velez

  8.   Steven Pena-Lopez                          Juan R. Acevedo-Cruz

                                                  (NOT PRESENT)

  9.   Anthony De Leon-Melendez                   Ernesto Hernandez-Milan

  10. Jorge Joel Figueroa-Rivera                  Miguel Rodriguez-Robles

  13. Josue Diaz-Rodriguez                        Thomas Trebilcock-Horan

  14. Edwin Otero-Diaz                            Edgar L. Sanchez-Mercado

                                                  (substituted by Juan Matos)

  15. Rafael Martinez-Trinidad                    Juan F. Matos-De-Juan

  16. Ricardo Burgos-Irizarry                     Diego H. Alcala-Laboy

                                                  (NOT PRESENT)

  17. Pedro R. Diaz-Torres                        Leonardo M. Aldridge

  18. Angel G. Fernandez-Jorge                    Raymond L. Sanchez-Maceira

  21. Elvin Jose Castellano                       Mariangela Tirado-Vales
  24. Jean Case
           Carlos  Lebron-Falcon Document 723 Filed
                3:19-cr-00075-RAM             Jorge   Luis Gerena-Mendez
                                                    02/07/23 Page 2 of 2
                                                (NOT PRESENT)

  25. Alex Miguel Rivera-Marquez                Giovanni Jose Canino-Sanchez

                                                (NOT PRESENT)

  26. Edwin Otero-Marquez                       Jose G. Perez-Ortiz

  27. Jose Machuca-Benitez                      Irma R. Valldejuli-Perez

  28. Victor Garcia-Benitez                     Raul S. Mariani-Franco

                                                (NOT PRESENT)

  29. Janses Rondon-Carrillo                    Jose Agustin Arce-Diaz

  30. Samuel Rivera-Valcarcel                   Jose A. Suarez-Santa

  31. Emilio Soto-Maldonado                     Julio Cesar Alejandro-Serrano

  34. Nilsa Ortiz-Sanchez                       Miguel Oppenheimer

                                                (substituted by Juan Matos)
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CASE CALLED FOR STATUS CONFERENCE.

   The government informed that the parties have been in constant communication
and plea negotiations are ongoing.

   Defense counsel informed as to the positions of each defendant and all
requested additional time to continue evaluating the plea offers, file any Change
of Plea Motions, prepare any mitigation package, and discuss all possible options
with the defendants.

   Status Conference set for April 13, 2023 at 11:00 AM. A Change of Plea deadline
will be set.

   The Speedy Trial Act tolled in the interest of justice and because of the need
for additional time to pursue plea negotiations.




                                                    S/ Natassia Ochoa
                                                   Courtroom Deputy Clerk
